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                                  Exhibit(s) A Page 1 of 2


Troy N. Nichols (VA 68491)
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Attorneys for GB Richard Ellis/
Louisville, LLC



                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION

IN RE:
                                                      )            Case No. 08-35653-KRH
                                                      )                  (Jointly Administered)
CIRCUIT CITY STORES, INC., et al.                     )
                                                      )            Chapter 11
                                                      )


                        DEBTOR.                       )            Judge Kevin R. Huennekens




               ORDER GRANTING MOTION TO APPEAR BY TELEPHONE

         This matter is before the court upon the Motion to Appear by Telephone ("the Motion")

of Troy N. Nichols, with the law firm of Wyatt, Tarrant & Combs, LLP. Upon consideration of

the Motion, and the statements therein, the Court finds that (i) it has jurisdiction over the matters

raised in the Motion pursuant to 28 U.S.C. §S157 and 1334; (ii) this is a core proceeding

pursuant to 28 U.S.C. §157(b)(2); (iii) proper and adequate notice of the Motion has been given

and that no other or further notice is necessary; and (iv) good and sufficient cause exists for the

granting of the relief requested in the Motion. Therefore,

IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT;

         1.     The motion is GRANTED.                       EXHIBIT



                                                     L-J
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             2.     Troy N. Nichols is permitted to appear by telephone at the April 20, 2011, 12:00

p.m. hearing, if held, to consider the Amended Motion to Admit Robert J. Brown to Practice Pro

Hac Vice (Docket No. 10515).

             Entered:




                                                 UNITED STATES BANKRUPTCY JUDGE
TASK FOR THIS:

 Is! Troy N. Nichols
Troy N. Nichols
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Local counselfor GB Richard Ellis /Louisville



                                            CERTIFICATE

        Pursuant to L.R. 9022-1 of the Local Rules of the United States Bankruptcy Court for the
Eastern District of Virginia, I certify that the foregoing proposed Order has been endorsed by
and/or served upon all necessary parties to this action.

                                                  Is! Troy N. Nichols
                                                 Troy N. Nicholas




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